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                                                                        November 27, 2017
   Hon Judge James L Garrity
   United States Bankruptcy Court
   One Bowling Green
   New York, NY 10004

   RE:        Status Report / Base Ch 13 and Adversary

              16-01020-jlg Cocoletzi et al v. Orly
              15-11650-jlg Amir Orly

   Dear Honorable Judge Garrity:

   Please accept this as the Debtor / Plaintiff’s Case Status Report for the above captioned
   base chapter 13 bankruptcy case and the related pending adversary proceeding.

   Since the last appearance before Your Honor there has been no changes in the status of
   the action pending in the U.S. District Court for S.D.N.Y. While Mr. Androphy has
   requested a certificate of default be entered as to Mr. Orly and a co-defendant, and the
   clerk did file a certificate on July 28, 2017 noting the default, nothing further has been
   filed by the plaintiffs with the District Court and there is still no pending motion for an
   entry of a default judgment. That said, the case pending before Your Honor is at a
   standstill. If Mr. Androphy’s clients are doing nothing to advance their case in the U.S.
   District Court, the Debtor can do nothing to move his bankruptcy case towards closure.

    Thank you for Your Honor’s continued patience with this case. I remain

                                                   Very truly yours,
                                                   __/s/ Linda M. Tirelli, Esq.
                                                   Linda M Tirelli, Esq.
   cc: Josha Androphy, Esq.
